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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-6978 MRW Date November 6, 2020

 

Title Edmond Neal v. Glenrose Inc.

 

Present: The Honorable Michael R. Wilner

 

Veronica Piper None
Deputy Clerk Court Smart / Reporter
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER RE: DISMISSAL

Plaintiff filed a notice to dismiss this case with prejudice. (Docket # 17.) This action is
dismissed with prejudice.

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